Case 2:23-cv-04347-DMG-E Document 58-1 Filed 10/20/23 Page 1 of 8 Page ID #:608



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15                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
16
17   T-MOBILE US, INC., CLEARWIRE              Case No. 2:23-CV-4347-DMG (Ex)
     SPECTRUM HOLDINGS LLC,
18   CLEARWIRE SPECTRUM                        Judge Dolly M. Gee
     HOLDINGS II LLC, CLEARWIRE
19   SPECTRUM HOLDINGS III LLC,                DECLARATION OF R. KENNON
     FIXED WIRELESS HOLDINGS                   POTEAT III IN SUPPORT OF
20   LLC, NSAC LLC, TDI                        REQUEST FOR ENTRY OF
     ACQUISITION SUB LLC, AND                  DEFAULT
21   WBSY LICENSING LLC,
                                               [Filed concurrently with Request for
22                    Plaintiffs,              Entry of Default]
     vs.
23
     WCO SPECTRUM LLC, SCH LLC,
24   ACADEMIA SPECTRUM LLC,
     GARY WINNICK, CARL
25   KATERNDAHL, ASHOK
     VASUDEVAN, ANDREAS
26   BITZARAKIS, AND TYLER
     KRATZ,
27
                    Defendants.
28



           DECLARATION OF R. KENNON POTEAT III IN SUPPORT OF REQUEST FOR ENTRY OF DEFAULT
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 1                   DECLARATION OF R. KENNON POTEAT III
 2         I, R. Kennon Poteat III, declare:
 3        1.     I am an attorney admitted to practice in this Court for this action pro hac
 4 vice and am a partner with the law firm Williams & Connolly LLP, attorneys of record
 5 herein for Plaintiffs T-Mobile US, Inc., Clearwire Spectrum Holdings LLC, Clearwire
 6 Spectrum Holdings II LLC, Clearwire Spectrum Holdings III LLC, Fixed Wireless
 7 Holdings LLC, NSAC LLC, TDI Acquisition Sub LLC, and WBSY Licensing LLC
 8 (collectively, “T-Mobile”). I make this declaration in support of T-Mobile’s Request
 9 for Entry of Default. I have personal knowledge of the facts set forth in this
10 declaration and if called as a witness, I could and would testify competently to them.
11        2.     On June 8, 2023, I sent a request to waive service of a summons to
12 counsel for Defendants SCH LLC (“SCH”) and Ashok Vasudevan (collectively, the
13 “SCH Defendants”), with the complaint for the above-captioned matter. The SCH
14 Defendants, through counsel, executed a waiver of service on June 19, 2023. Attached
15 hereto as Exhibit 1 is a true and correct copy of the executed Waiver of the Service
16 of Summons filed in this Court on June 23, 2023. ECF No. 25.
17        3.     Pursuant to Federal Rule of Civil Procedure 12, the SCH Defendants
18 were required to serve a response to the complaint “within 60 days after the request
19 for a waiver was sent,” or by August 7, 2023.
20        4.     The parties then agreed, by stipulation, to extend Defendants’ time to
21 respond to the complaint by eleven days to August 18, 2023. ECF No. 27.
22        5.     Upon a representation that Defendants’ counsel was “indisposed
23 handling the trial of another matter,” the parties subsequently agreed, by stipulation,
24 to extend Defendants’ time to respond by an additional thirty days to September 18,
25 2023, which the Court accepted. ECF Nos. 39, 40.
26        6.     The SCH Defendants failed to appear or otherwise respond to the
27 complaint by September 18, 2023.
28
                                                1
         DECLARATION OF R. KENNON POTEAT III IN SUPPORT OF REQUEST FOR ENTRY OF DEFAULT
     Case 2:23-cv-04347-DMG-E Document 58-1 Filed 10/20/23 Page 3 of 8 Page ID #:610




 1         7.      On October 6, 2023, the Court entered an Order to Show Cause re:
 2    Dismissal for Lack of Prosecution that instructed Plaintiffs to respond in writing on
 3    or before October 13, 2023 with an explanation for why this action should not be
 4    dismissed as to the SCH Defendants, or, alternatively, to file an application for entry
 5    of default against them. ECF No. 56.
 6         8.     T-Mobile filed a response on October 11, 2023 explaining that T-
 7    Mobile and the SCH Defendants had agreed to a path forward, which included the
 8    SCH Defendants causing an attorney to enter an appearance and filing a motion to
 9    join the pending motion to dismiss by October 19, 2023. ECF No. 57. T-Mobile
10    informed the Court that should the SCH Defendants fail to meet this deadline, “T-
11    Mobile promptly will file a request for entry of default against them.” Id.
12         9.      The SCH Defendants failed to appear or otherwise respond to the
13    complaint by the October 19 agreed-upon deadline.
14         10.     Neither SCH nor Vasudevan is a minor, incompetent person, or a
15    person in military service or otherwise exempted from default judgment under the
16    Soldiers’ and Sailors’ Civil Relief Act of 1940.
17
18          I declare under penalty of perjury that the foregoing is true and correct.
19
20          Executed this 20th day of October, 2023 at Washington, DC.
21
22
                                              R. Kennon Poteat III
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        DECLARATION OF R. KENNON POTEAT 111 IN SUPPORT OF REQUEST FOR ENTRY OF DEFAULT
Case 2:23-cv-04347-DMG-E Document 58-1 Filed 10/20/23 Page 4 of 8 Page ID #:611




                              Exhibit 1
Case
 Case2:23-cv-04347-DMG-E
      2:23-cv-04347-DMG-E Document
                           Document58-1
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                                                                              #:612
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 1                                 PROOF OF SERVICE

 2         I, Jennifer L. Lathrop, declare:
 3         I am employed in the County of Los Angeles, State of California. I am over the
     age of 18 and not a party to the within action. My business address is Alston & Bird
 4   LLP, 333 South Hope Street, Sixteenth Floor, Los Angeles, California, 90071.
 5         On October 20, 2023, I served the document(s) described as DECLARATION
     OF R. KENNON POTEAT III IN SUPPORT OF REQUEST FOR ENTRY OF
 6   DEFAULT on the interested parties in this action by enclosing the document(s) in a
     sealed envelope addressed as follows: SEE ATTACHED SERVICE LIST
 7
          BY MAIL [or CERTIFIED MAIL/RETURN RECEIPT REQUESTED]: I am
 8         “readily familiar” with this firm’s practice for the collection and the
           processing of correspondence for mailing with the United States Postal
 9         Service. In the ordinary course of business, the correspondence would be
           deposited with the United States Postal Service at 333 South Hope Street, Los
10         Angeles, California, 90071 with postage thereon fully prepaid the same day
           on which the correspondence was placed for collection and mailing at the firm.
11         Following ordinary business practices, I placed for collection and mailing Via
           Certified Mail, Return Receipt Requested, with the United States Postal
12         Service such envelope at Alston & Bird LLP, 333 South Hope Street, Los
           Angeles, California, 90071.
13
           UPS NEXT DAY AIR  FEDERAL EXPRESS  OVERNIGHT
14         DELIVERY: I deposited such envelope in a facility regularly maintained by
            UPS  FEDERAL EXPRESS  OVERNIGHT DELIVERY [specify
15         name of service:             ] with delivery fees fully provided for or delivered
           the envelope to a courier or driver of  UPS  FEDERAL EXPRESS 
16         OVERNIGHT DELIVERY [specify name of service: ________________]
           authorized to receive documents at Alston & Bird LLP, 333 South Hope
17         Street, Los Angeles, California, 90071 with delivery fees fully provided for.
18        BY ELECTRONIC MAIL TRANSMISSION WITH ATTACHMENT: On
           this date, I transmitted the above-mentioned document(s) by electronic mail
19         transmission with attachment to the parties at the electronic mail address set
           forth on the attached Service List.
20
          BY FACSIMILE: I telecopied a copy of said document(s) to the following
21         addressee(s) at the following number(s) on the attached Service List
22        [Federal] I declare that I am employed in the office of a member of the bar
                     of this court at whose direction the service was made.
23
           Executed on October 20, 2023, at Los Angeles, California.
24
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26
                                                           Jennifer L. Lathrop
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Case 2:23-cv-04347-DMG-E Document 58-1 Filed 10/20/23 Page 7 of 8 Page ID #:614




                       T-Mobile US, Inc., v. WCO Spectrum LLC
 1                U.S. District Court – Central District of California
                           Case No. 2:23-cv-04347-DMG-E
 2
 3                                  SERVICE LIST

 4
     Served Via Electronic Mail Transmission
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28   MITTS LAW, LLC                         ACADEMIA SPECTRUM LLC,
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Case 2:23-cv-04347-DMG-E Document 58-1 Filed 10/20/23 Page 8 of 8 Page ID #:615




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